Case 2:11-cv-00203-RWS-RSP Document 128 Filed 06/20/12 Page 1 of 1 PageID #: 708



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    DataTern, Inc.,                                 §
                                                    §
           Plaintiff,                               §
                                                    §
            v.                                      §    Civil Action No. 2:11-cv-00203
                                                    §
    Abbott Laboratories, et al.                     §    JURY TRIAL DEMANDED
                                                    §
           Defendants.                              §


                            ORDER OF DISMISSAL WITH PREJUDICE

           In consideration of the Joint Motion for Dismissal (Doc. No. 127) of all claims with

    prejudice and all counterclaims as moot asserted between Plaintiff DataTern, Inc. and

    Defendant Harley-Davidson, Inc., the Joint Motion for Dismissal is GRANTED, and

    it is ORDERED, ADJUDGED, AND DECREED that all claims asserted in this suit between
.   Plaintiff and Defendant are hereby dismissed with prejudice and all counterclaims are dismissed

    as moot, subject to the terms of that certain agreement entitled “SETTLEMENT AGREEMENT”,

    entered into and effective June 11, 2012.

           It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

    incurred them.

           It is SO ORDERED.

    SIGNED this 20th day of June, 2012.




                                                    ____________________________________
                                                    MICHAEL H. SCHNEIDER
                                                    UNITED STATES DISTRICT JUDGE
